    Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 1 of 15 PageID #:121



                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

RALPH MCCONNELL,               )
                               )
      Plaintiff,               )              Case No. 16 C 5519
                               )
      v.                       )
                               )              Honorable Samuel Der-Yeghiayan
JOSE E. TORRES, J.F. SIKORSKI, )
A.J. MARTIN, and the CITY OF   )
CHICAGO                        )
                               )
      Defendants.              )

                      PLAINTIFF’S THIRD AMENDED COMPLAINT
                                AND JURY DEMAND

       For his Third Amended Complaint against defendants Jose E. Torres, J.F. Sikorski, A.J.

Martin, and the City of Chicago, plaintiff Ralph McConnell alleges as follows:

       1.       On October 20, 2014, Mr. McConnell was arrested in the City of Chicago, Illinois

by one of the Chicago Police Department’s (“CPD”) officers. He refers to this arresting officer

as the “Officer.”

       2.       Upon information and belief, the Officer is one of defendants Jose Torres, J.F.

Sikorski, and A.J. Martin, each a CPD officer. Their star numbers are 19898, 11143, and 14313,

respectively.

       3.       On October 20, 2014, defendant City of Chicago was a municipal corporation,

and the principal employer of the Officer, who was acting in the course and scope of his

employment with the City of Chicago when he arrested Mr. McConnell on October 20, 2014.

The CPD is an agency of the City. Mr. McConnell brings his claims against the City under

Monell v. Dep’t of Social Serv., 436 U.S. 658 (1978).




                                                 1
    Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 2 of 15 PageID #:122



       4.       Mr. McConnell brings his claims against the Officer and the City pursuant to 42

U.S.C. § 1983 for violations of his rights under the fourth and fourteenth amendments of the U.S.

constitution.

       5.       Pursuant to 28 U.S.C. § 1331, the federal courts have subject-matter jurisdiction

over the lawsuit at bar.

       6.       Pursuant to 28 U.S.C. § 1391, venue in this district is proper for the lawsuit at bar.

       7.       Exhibit A to Mr. McConnell’s Third Amended Complaint is a true and correct

copy of the CPD’s Special Order S04-16, which, upon information and belief, is the sole writing

documenting the rules and regulations that govern the CPD’s policy of issuing documents that

are known as “investigative alerts.”

       8.       Upon information and belief, ever since March 2001, the CPD has used

investigative alerts to identify subjects for CPD officers to investigate.

       9.       Upon information and belief, the CPD has intended and does intend for its

officers to arrest some subjects of an investigative alert on the basis of that investigative alert

alone, without first procuring an arrest warrant for those subjects.

       10.      Special Order S04-016 does not expressly require the officer requesting an

investigative alert to state whether or not probable cause existed to arrest the subject of that alert.

       11.      Special Order S04-016 does not expressly require the supervisor who approves an

investigative alert to state whether or not probable cause existed to arrest the subject of that alert.

       12.      Upon information and belief, CPD officers at times have been and are uncertain

whether a given investigative alert claims probable cause to arrest.

       13.      Upon information and belief, CPD officers at times have relied on investigative

alerts to effectuate arrests that lacked probable cause.




                                                   2
    Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 3 of 15 PageID #:123



       14.     Upon information and belief, the CPD has issued investigative alerts that claim

probable cause to arrest the subject of that alert, and officers of the CPD, without procuring an

arrest warrant first, have arrested some of those subjects in reliance on the investigative alert

claiming probable cause.

       15.     Upon information and belief, an officer of the CPD detained, searched, and

arrested Eddie and Yvonne Freeman on October 5, 2013 in reliance on an investigative alert.

       16.     Upon information and belief, there was no probable cause to arrest Mr. or Mrs.

Freeman on October 5, 2013.

       17.     Upon information and belief, an officer of the CPD detained, searched, and placed

in custody Keenan Jones on May 6, 2012 in reliance on an investigative alert.

       18.     In a decision upheld by the Illinois Appellate Court, the Illinois Circuit Court

concluded that there was no probable cause to detain, search, and place in custody Mr. Jones on

May 6, 2012.

       19.     Upon information and belief, an officer of the CPD arrested Kraig Hyland on

January 13, 2010 in reliance on an investigative alert that claimed probable cause to arrest Mr.

Hyland.

       20.     The Illinois Appellate Court decided that the State of Illinois failed to show

probable cause to arrest Mr. Hyland on January 13, 2010.

       21.     Upon information and belief, an officer of the CPD arrested Frank Craig in May

2006 in reliance on an investigative alert that claimed probable cause to arrest Mr. Craig.

       22.     The Northern District of Illinois concluded that there was no probable cause to

arrest Mr. Craig in May 2006.

       23.     In at least three cases, the majority of a panel of the Illinois Appellate Court has




                                                  3
    Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 4 of 15 PageID #:124



questioned the constitutional validity of the CPD’s policy of using investigative alerts to

effectuate arrests. Those cases are People v. Jones, 2015 IL App (1st) 142997, People v. Starks,

2014 IL App (1st) 121169, and People v. Hyland, 2012 IL App (1st) 110966 (Salone, J.

concurring, joined by Neville, J.).

        24.     In Jones, the Illinois Appellate Court noted that the CPD’s policy of using

investigative alerts “remains just as troubling as well as unresolved” and stated that “[h]opefully

the issue will be addressed on appeal at some point.”

        25.     No court has ever upheld the constitutionality of the CPD’s policy of using

investigative alerts.

        26.     On the morning of October 20, 2014, Mr. McConnell was inside his home in

Chicago at 6351 South Artesian Avenue, unit 1, about to eat breakfast with his family, when the

Officer entered Mr. McConnell’s home.

        27.     The Officer did not have a warrant permitting him to enter Mr. McConnell’s

home on the morning of October 20, 2014.

        28.     The Officer did not have permission from any occupant of Mr. McConnell’s

home to enter Mr. McConnell’s home on the morning of October 20, 2014.

        29.     There were no exigent circumstances to justify the Officer’s entry into Mr.

McConnell’s home on the morning of October 20, 2014.

        30.     Upon entering Mr. McConnell’s home on the morning of October 20, 2014, the

Officer stated that Mr. McConnell was the subject of an investigative alert.

        31.     The Officer then searched and handcuffed Mr. McConnell inside his home and

escorted him to a police cruiser outside of his home.




                                                 4
    Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 5 of 15 PageID #:125



        32.     When Mr. McConnell asked the Officer why he was arresting Mr. McConnell, the

Officer answered that he was just doing his job, without giving Mr. McConnell an explanation

for why Mr. McConnell was placed under arrest.

        33.     As a consequence of his arrest on the morning of October 20, 2014, Mr.

McConnell has been unable to work for income, his health has deteriorated, and he has suffered

emotional distress.

                               Count I – False Arrest by the Officer

        34.     Mr. McConnell re-alleges paragraphs 1 through 33.

        35.     Mr. McConnell brings this Count against the Officer, who is Ofr. Torres, or in the

alternative, Ofr. Sikorski, or in the alternative, Ofr. Martin.

        36.     The Officer acted under color of law when he arrested Mr. McConnell on the

morning of October 20, 2014.

        37.     The Officer lacked probable cause to arrest Mr. McConnell on the morning of

October 20, 2014.

        38.     The Officer is liable to Mr. McConnell for compensatory, nominal, and/or

punitive damages for his false arrest of Mr. McConnell.

           Count II – Warrantless Arrest in Mr. McConnell’s Home by the Officer

        39.     Mr. McConnell re-alleges paragraphs 1 through 33.

        40.     Mr. McConnell brings this Count against the Officer, who is Ofr. Torres, or in the

alternative, Ofr. Sikorski, or in the alternative, Ofr. Martin.

        41.     Without (i) a warrant to enter Mr. McConnell’s home to effect an arrest,

(ii) permission to enter Mr. McConnell’s home, or (iii) exigent circumstances to justify his entry




                                                   5
    Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 6 of 15 PageID #:126



into Mr. McConnell’s home, the Officer entered Mr. McConnell’s home on the morning of

October 20, 2014 and arrested Mr. McConnell in his home.

         42.       The Officer is liable to Mr. McConnell for compensatory, nominal, and/or

punitive damages for unjustifiably entering Mr. McConnell’s home and arresting him there.

Count III – The City’s Express Policy of Effecting Arrests Pursuant to Investigative Alerts

         43.       Mr. McConnell re-alleges paragraphs 1 through 38.

         44.       Mr. McConnell brings this Count against the City.

         45.       The CPD at times has effectuated and effectuates arrests in reliance on

investigative alerts, which need not be supported by probable cause, in lieu of warrants.

         46.       This reliance caused the false arrest of Mr. McConnell on the morning of October

20, 2014.

         47.       The City is liable to Mr. McConnell for compensatory, nominal, and/or punitive

damages for the CPD’s reliance on its investigative-alert policy.

Count IV – The City’s Express Policy of Effecting Arrests Pursuant to Investigative Alerts

         48.       Mr. McConnell re-alleges paragraphs 1 through 38.

         49.       Mr. McConnell brings this Count against the City.

         50.       The CPD’s express policy for investigative alerts permits the issuance of

investigative alerts that do not specify whether or not the officer requesting the alert, or the

supervisor approving the alert, believes probable cause to exist to effectuate an arrest of the

alert’s subject.

         51.       By its issuance of investigative alerts that do not specify whether or not there is

probable cause to effectuate an arrest, the CPD foreseeably causes arrests that lack probable

cause.




                                                     6
    Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 7 of 15 PageID #:127



        52.     Upon information and belief, the investigative alert identifying Mr. McConnell as

its subject did not specify whether or not probable cause existed to arrest him.

        53.     In reliance on this investigative alert, the Officer falsely arrested Mr. McConnell

on the morning of October 20, 2014, a foreseeable result of the CPD’s investigative-alert policy.

        54.     The City is liable to Mr. McConnell for compensatory, nominal, and/or punitive

damages for the CPD’s reliance on its investigative-alert policy.

          Count V – The City’s Custom and Usage of Its Investigative-Alerts Policy

        55.     Mr. McConnell re-alleges paragraphs 1 through 38.

        56.     Mr. McConnell brings this Count against the City.

        57.     The CPD’s custom and usage, though its effectuation of warrantless arrests

pursuant to investigative alerts, foreseeably leads to arrests unsupported by probable cause.

        58.     The City is liable to Mr. McConnell for compensatory, nominal, and/or punitive

damages for the CPD’s reliance on its investigative-alert policy.

                   *               *               *               *               *

        For these reasons, Ralph McConnell respectfully requests entry of judgment against Jose

E. Torres, or in the alternative, J.F. Sikorski, or in the alternative, A.J. Martin, and against the

City of Chicago, awarding him damages and such other relief as the Court sees fit.

        Jury Demand: Mr. McConnell demands a trial by jury.




                                                   7
    Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 8 of 15 PageID #:128



Dated January 24, 2017                       Respectfully submitted,

                                                    /s/ Patrick Frye

                                             Patrick Frye
                                             FREEBORN & PETERS
                                             311 South Wacker Drive, Suite 3000
                                             Chicago, IL 60606
                                             (312) 360-6000

                                             Attorney for Ralph McConnell

3768068v1/99900-0627




                                         8
Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 9 of 15 PageID #:129




                      Exhibit A
Investigative Alerts                                                             Page 1 of 6
       Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 10 of 15 PageID #:130




                     Chicago Police Department                                                       Special Order S04-16
                     INVESTIGATIVE ALERTS


           ISSUE DATE:                05 March 2001                      EFFECTIVE DATE:               06 March 2001
           RESCINDS:                  G01-02
           INDEX CATEGORY:            Preliminary Investigations


      I.      PURPOSE
               This directive

                A.      discontinues the use of the term "stop order" and replaces it with the term
                        "investigative alert."

                B.      discontinues the use of the Stop Order or Cancellation Request form (CPD-31.961).

                C.      defines categories of investigative alert.

                D.      introduces the Criminal History Records Information System (CHRIS)
                        Investigative Alert Application System to be utilized by the Bureau of Investigative
                        Services (BIS).

                E.      informs members of the availability of investigative alert data via CHRIS and local Hot
                        Desk name checks.

                F.      delineates responsibilities of BIS and the Identification Section.

                G.      outlines procedures when processing investigative alerts and Temporary Wants.


      II.      CHRIS INVESTIGATIVE ALERT APPLICATION SYSTEM

               All requests for investigative alerts are entered and approved in CHRIS by sworn BIS
               personnel. Any BIS member with a responsibility for follow-up investigation may request an
               investigative alert via the CHRIS Investigative Alert Application System.

                A.      Members will enter investigative alert requests into CHRIS utilizing the investigative
                        alert application screen. Each person wanted must be entered separately.

                B.      Supervisors will approve or reject investigative alert requests in CHRIS.

                C.      An investigative alert is effective immediately upon approval and is available to
                        Department members via CHRIS or Hot Desk name checks.

                D.      CHRIS and Hot Desk name checks will display investigative alert and pertinent
                        investigative alert data (i.e., required data listed in Item II-F of this directive) whenever
                        a name check is run on an individual who has an investigative alert on file.

                E.      The unit investigative alert file will be audited in accordance with Item III-A-6 of this
                        directive to ensure that investigative alerts no longer needed are purged from the
                        Investigative Alerts Application System.

                F.      The following data is required to request an investigative alert:

                         1.     Offense code




http://directives.chicagopolice.org/directives/data/a7a57be2-12b780f4-30412-b787-088f7... 11/22/2016
Investigative Alerts                                                             Page 2 of 6
       Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 11 of 15 PageID #:131



                   2.      Name of subject (include all known aliases)

                   3.      IR number

                   4.      Physical description (sex, height, DOB, etc.)

                   5.      Last known address

                   6.      Justification for the investigative alert request

                   7.      Requesting member's information (name, star number, unit, etc.)

                   8.      RD number, in all instances that one has been issued.


      III.   RESPONSIBILITIES


             A.    Bureau of Investigative Services
                   Bureau of Investigative Services supervisors will ensure that:

                   1.      a unit investigative alert file is maintained. The investigative alert file will
                           contain sufficient information relating to the subject of the alert to allow any
                           member of the investigating unit to handle the investigation if the requesting
                           member is not available. Copies of all reports, documents, etc., supporting the
                           investigative alert request and a summary of how the subject was involved in
                           the crime or incident will also be included in the investigative alert file.

                   2.      a copy of the subject's most recent photograph, if available, is attached to a
                           paper copy of the approved investigative alert request and placed in the unit
                           investigative alert file.

                   3.      a current list of investigative alerts requested by the unit is maintained.

                   4.      in the event a juvenile is involved or is alleged to be involved in an offense,
                           every effort is made to apprehend the juvenile before an investigative alert is
                           requested. This will include requesting that area Special Victims Section
                           personnel search their files for pertinent information which would assist in the
                           apprehension of the juvenile.

                           NOTE:             Members will follow the procedures outlined in the
                                             Department directive entitled "Processing of Juveniles and
                                             Minors Under Department Control" when processing or
                                             interrogating juveniles.


                   5.      investigative alert requests are updated or canceled as necessary.

                           NOTE:             Any BIS member of the rank of sergeant or above is
                                             authorized to update or cancel an investigative alert.


                   6.      the unit investigative alert file is audited each police period to ensure
                           investigative alert requests on file are canceled when the subject of the alert
                           has been apprehended or the investigative alert is no longer needed.

                   7.      Temporary Want entry requests are telephoned or faxed to the Field Inquiry
                           Section - Central Warrant Unit to be entered into the LEADS and/or NCIC
                           computer systems.




http://directives.chicagopolice.org/directives/data/a7a57be2-12b780f4-30412-b787-088f7... 11/22/2016
Investigative Alerts                                                             Page 3 of 6
       Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 12 of 15 PageID #:132


                   8.      the Help Desk is contacted if there is a problem with the CHRIS Investigative
                           Alert Application System.

            B.    Identification Section
                  If a fingerprint verification of an arrestee's identity indicates that an investigative alert
                  is in effect, the Identification Section will immediately make notifications to both the
                  district of detention and the unit which originated the investigative alert.

                   NOTE:           The Identification Section will notify the Cook County Fugitive Unit
                                   upon verification that the arrestee is a participant (inmate or
                                   offender) in an electronic home monitoring detention program
                                   supervised by the Illinois Department of Corrections, probation
                                   supervisory authority, sheriff, or any other office charged with
                                   authorizing and supervising home detention.



      IV.   PROCESSING INVESTIGATIVE ALERTS AND TEMPORARY WANTS


            A.    Field Officers

                   1.      Officers who run name checks on individuals who have an Investigative
                           Alert / Probable Cause to Arrest on file will:

                           a.      take the subject into custody if not already in custody.

                           b.      process the arrestee in accordance with the procedures outlined in the
                                   Department directive entitled "Processing Persons Under Department
                                   Control." Indicate on the Arrest Report (CPD-11.420) that the arrestee
                                   is the subject of an Investigative Alert / Probable Cause to Arrest.

                           c.      notify the desk sergeant of the incident.

                           d.      notify the requesting BIS member's unit that the subject is in custody
                                   and indicate on the Arrest Report the name and star number of the
                                   investigating member notified.

                                    NOTE:            If the investigative alert is for an arrestee who is a
                                                     participant in an electronic home monitoring
                                                     detention program, the officer will notify the
                                                     Identification Section.


                   2.      Officers who run name checks on individuals who have an Investigative
                           Alert / No Probable Cause to Arrest on file are reminded that IF NO OTHER
                           CRIME WAS COMMITTED, AN ARREST IS NOT AUTHORIZED. Officers will:

                           a.      inform the individual that a BIS investigative member seeks to
                                   interview the individual about a specific police matter and request that
                                   the subject voluntarily accompany the officer(s) to the district station
                                   to speak with the investigating officer so that the matter may be
                                   resolved.

                           b.      if the individual consents, the officer will assist the individual to the
                                   district station, and:

                                    1.      notify the desk sergeant of the incident.

                                    2.      notify the requesting member's unit indicating that the subject
                                            of the investigative alert is at the district station voluntarily and
                                            has consented to speak with the investigating member.




http://directives.chicagopolice.org/directives/data/a7a57be2-12b780f4-30412-b787-088f7... 11/22/2016
Investigative Alerts                                                             Page 4 of 6
       Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 13 of 15 PageID #:133



                                3.     complete an Information Report (CPD-11.461) documenting
                                       the incident. Include the pertinent investigative alert data and
                                       indicate that the subject voluntarily accompanied the officer to
                                       the district station.

                                4.     forward a copy of the Information Report to the requesting BIS
                                       member's unit.

                                5.     forward the original Information Report to the Office of the
                                       Assistant Superintendent, Operations.

                         c.    if the individual will not voluntarily accompany the officer(s) to the
                               district station:

                                1.     complete an Information Report documenting the incident and
                                       include the pertinent data obtained from the investigative alert.

                                        NOTE:           IF NO OTHER CRIME WAS COMMITTED,
                                                        AN ARREST IS NOT AUTHORIZED.


                                2.     notify the desk sergeant of the incident.

                                        NOTE:           DO NOT DETAIN SUCH PERSONS IN
                                                        ORDER TO MAKE NOTIFICATIONS.


                                3.     notify the requesting member's unit that the subject was
                                       located.

                                4.     forward a copy of the Information Report to the BIS requesting
                                       member's unit.

                                5.     forward the original Information Report to the Office of the
                                       Assistant Superintendent, Operations.

                         d.    if the subject is in custody for some other offense and a name check
                               reveals Investigative Alert / No Probable Cause to Arrest, the officer(s)
                               will:

                                1.     notify the requesting BIS member's unit that the subject is in
                                       custody.

                                        NOTE:           It is not necessary to complete an
                                                        Information Report if the subject has been
                                                        arrested for some other offense and a name
                                                        check reveals Investigative Alert / No
                                                        Probable Cause to Arrest.


                                2.     document the Investigative Alert / No Probable Cause to
                                       Arrest and the name and star number of the investigating
                                       member notified on the Arrest Report.

                   3.   Officers who run name checks on individuals who have a Temporary Want on
                        file will:

                         a.    take the wanted person into custody if not already in custody.

                         b.




http://directives.chicagopolice.org/directives/data/a7a57be2-12b780f4-30412-b787-088f7... 11/22/2016
Investigative Alerts                                                             Page 5 of 6
       Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 14 of 15 PageID #:134


                                  process the arrestee in accordance with the procedures outlined in the
                                  Department directive entitled "Processing Persons Under Department
                                  Control."

                          c.      contact the Field Inquiry Section - Central Warrant Unit for direction on
                                  how to proceed with the Temporary Want arrest.

                          d.      ensure that either the warrant information or the basis for probable
                                  cause has been articulated on the arrest report as soon as that
                                  information is available and prior to the arrestee being sent to court.

            B.    Watch Commanders
                  If a person in custody is the subject of an investigative alert or Temporary Want,
                  watch commanders will ensure that:

                   1.    the investigative alert is investigated before an arrestee is let to bail.

                          NOTE:            Whenever the detention of a person in Department custody
                                           would result in the subject being held more than 48 hours
                                           from the time of arrest and the subject was arrested without
                                           a warrant and the approval of charges has not occurred, the
                                           subject must be either released without charging or sent
                                           before the appropriate court for a determination of probable
                                           cause. Members will refer to the Department directive
                                           entitled "Processing Persons Under Department Control" for
                                           further guidance.


                   2.    the requesting BIS member's unit is notified.

                   3.    the requesting BIS unit responds or notifies the district of detention if the
                         investigative alert is no longer in effect.

                   4.    the Identification Section is notified if the arrestee is a participant in an
                         electronic home monitoring detention program.

                   5.    the Field Inquiry Section - Central Warrant Unit is contacted for directions on
                         procedures to be followed whenever a Temporary Want arrest is made.

            C.    Bureau of Investigative Services
                  Bureau of Investigative Services sworn members will:

                   1.    respond to the district station immediately upon notification that the subject of
                         an investigative alert is in custody or at the district station on a voluntary basis
                         (if the individual is the subject of an Investigative Alert / No Probable Cause to
                         Arrest).

                   2.    conduct follow-up investigations relative to information received from
                         investigative alert Information Reports.

                   3.    ensure that a supervisor is notified in the event an investigative alert is to be
                         updated or canceled (i.e., additional information is available, a warrant has
                         been served and the investigative alert is no longer necessary,
                         complainant/witness is no longer available, etc.).

            D.    Field Inquiry Section - Central Warrant Unit
                  When processing Temporary Wants, the Central Warrant Unit will:

                   1.    enter Temporary Want requests into the LEADS and/or NCIC systems.




http://directives.chicagopolice.org/directives/data/a7a57be2-12b780f4-30412-b787-088f7... 11/22/2016
Investigative Alerts                                                             Page 6 of 6
       Case: 1:16-cv-05519 Document #: 35 Filed: 01/24/17 Page 15 of 15 PageID #:135


                   2.   include any additional information and all known aliases.

                   3.   place a copy of the Temporary Want request into the warrant file after entry
                        has been made into the systems.

                   4.   include a list of active Temporary Wants in the LEADS, NCIC or Hot Desk
                        systems within the weekly listing of active warrants provided the Detective
                        Division.



                                                                           Terry G. Hillard
                                                                           Superintendent of Police

      00-113 ZMM(PMD)




http://directives.chicagopolice.org/directives/data/a7a57be2-12b780f4-30412-b787-088f7... 11/22/2016
